lN THE UNITED STATES DlSTRlCT COURT
WESTERN DlSTRlCT OF NORTH CAROL|NA

gage NO, 3;1a-cv-00044-Moc-osc

James Seitz, Administrator of the Estate of Lauren E.
Seitz, Deceased

Plaintiff(s),
vs. MEDlATlON SESS|ON

U.S. National'Whitewater Center, lnc., Recreation
Engineering and Pianning, lnc., and Liquid Design, PC

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) CERT|FICAT|ON OF
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Defendant(s). )

lnstructions: This certificate shall be filed by the mediator or by the plaintiff, and served
upon all parties upon completion of the ADR process unless otherwise ordered.

The undersigned mediator reports the following result cfa Medlated Settlement
Conference held on April11.2019 .

The following individuals, parties, corporate representatives, and/or claims
professionals attended and were available to participate in the session, and the
appropriate individuals possessed the requisite settlement authority:

.All individual parties and their counsel.
[:lDesignated corporate representatives

ERequired claims professionals

l:lOther (describe):

The following individuals, parties, corporate representatives and/or claims
professionals failed to appear and/or failed to participate as ordered:

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The outcome of the Mediation session was:

[::l The parties have reached an impasse

The case has completely settled. Counsel will promptly notify the Court of
settlement by:

-The filing of a settlement agreement signed by the parties within thirty (30)
days of the filing of this report ,

[:lThe filing of a stipulation of dismissal signed by the parties within thirty (30)
days of the filing of this report.

[:l The case has been partially resolved. Counsel will file a joint stipulation regarding
those claims which have been resolved within thirty (30) days of the filing of this
report. The report shall also contain a brief summary of the remaining issues for
the Court to resolve.

l certify that the above is a true and accurate report regarding the result of
the Mediation Settlement Conference.

Raymond E. Owens, Jr.
Na of Mediator or P|a` tist Coun£:l

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Sign#ture of Mediator or Plaintiff’s Counsel

April 16, 2019
Date

 

 

CERT|F|CATE OF
SERV|CE

l hereby certify that l have this date served counsel for all parties with the Report
of Mediation by sending a copy thereof to the following via email or conventional mail
as noted:

This the 16th day of April , 20_1_§_.
S/ Raymond E. Owens, Jr.

Mediator/Plaintiff’s Counsel

 

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